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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

SUNIL BHATIA, individually, and
derivatively on behalf of MEDVALUE
OFFSHORE SOLUTIONS, INC.,                               Case No. __________________

       Plaintiffs,

v.
                                                        Judge __________
RAJU VASWANI, an individual, KARAN
VASWANI, an individual, MV
OUTSOURCING, INC., an Illinois                          JURY TRIAL DEMANDED
Corporation,

       Defendants.


                                          COMPLAINT

       Plaintiff, Sunil Bhatia (“Mr. Bhatia”), individually, and derivatively on behalf of

MedValue Offshore Solutions, Inc. (“MedValue”), states as follows as the Complaint against

Defendants, Raju Vaswani, Karan Vaswani, and MV Outsourcing, Inc.:

                                        INTRODUCTION

         1.      Plaintiff MedValue is an Illinois corporation and a leading U.S. based data entry

services company. It is headquartered in the Chicago area, and for approximately 14 years has

been providing data entry, data capture, and data processing services to clients throughout the

United States.

       2.        Sunil Bhatia and Raju Vaswani are 50/50 co-owners of MedValue.

       3.        MedValue owns and has used the trademarks “MV Outsourcing Solutions” and

“MV Outsourcing” in connection with its services since at least 2008.
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        4.       Unbeknownst to Mr. Bhatia, in or about July 2017, Raju Vaswani, along with his

son, Karan Vaswani, formed an Illinois corporation named “MV Outsourcing, Inc.” to compete

directly against MedValue and to usurp its business opportunities.

        5.       MV Outsourcing, Inc., Raju Vaswani, and Karan Vaswani are unfairly competing

with MedValue and infringing MedValue’s trademarks, by using an identical mark (“MV

Outsourcing”) to promote their own competing services.

        6.       Further, and among other wrongdoing, Raju Vaswani has breached his fiduciary

duties and duty of loyalty to Mr. Bhatia and MedValue by diverting business and customers

away from MedValue and to MV Outsourcing, Inc.

        7.       Karan Vaswani is the President of MV Outsourcing, Inc., who authorized,

directed, and participated in the infringement of MedValue’s trademarks.

        8.       Among other relief, MedValue seeks damages and injunctive relief arising out of

Defendants’ wrongful conduct.

                                 JURISDICTION AND VENUE

        9.       This Court has exclusive jurisdiction over the subject matter of the Complaint for

unfair competition under 28 U.S.C. § 1331 because MedValue is asserting claims under the

Lanham Act (15 U.S.C. § 1125(a)).

        10.      This Court also has supplemental jurisdiction over the remaining claims in the

Complaint pursuant to 28 U.S.C. § 1367(a).

        11.      This Court can exercise personal jurisdiction over Defendants and venue is proper

in this District because the acts complained of herein took place in this District, and at all

relevant times Defendants regularly and continuously transacted and were doing business within

this District.




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                                            PARTIES

       12.     Plaintiff, Sunil Bhatia, is a citizen and resident of the Northern District of Illinois

who resides in DuPage County, Illinois.

       13.     MedValue Offshore Solutions, Inc. (“MedValue”) is a corporation organized and

existing under Illinois law with its principal place of business located in Oak Brook, Illinois. Mr.

Bhatia has, at all relevant times, been a 50% shareholder in MedValue.

       14.     Defendant, Raju Vaswani, is a citizen and resident of the Northern District of

Illinois who resides in DuPage County, Illinois. At all relevant times, Raju Vaswani has been a

50% shareholder in MedValue and has acted as its Chief Executive Officer (“CEO”).

       15.     Defendant, Karan Vaswani, is a citizen and resident of the Northern District of

Illinois who resides in Cook County, Illinois.

       16.     MV Outsourcing, Inc. is a corporation organized and existing under Illinois law.

Upon information and belief, MV Outsourcing, Inc.’s principal place of business is located in

Chicago, Illinois.

                                  FACTUAL BACKGROUND

                                      MedValue Ownership

       17.     In or about October 2003, Mr. Bhatia approached Raju Vaswani regarding a

potential joint business venture centered on outsourcing services for customers in the healthcare

industry.

       18.     Later that year, in or about December 2003, Mr. Bhatia and Raju Vaswani

incorporated MedValue Offshore Solutions, Inc. (“MedValue”).

       19.     Mr. Bhatia and Raju Vaswani were and are equal owners in MedValue pursuant

to its incorporating documents.




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       20.     MedValue was initially solely in the business of utilizing Indian-based suppliers

to provide data entry services to U.S. based healthcare providers.

       21.     In or about early 2006, Raju Vaswani approached Mr. Bhatia regarding a potential

purchase of 10% of Bhatia’s ownership in MedValue.

       22.     More specifically, Raju Vaswani wanted to “buy out” that 10% ownership interest

by paying Mr. Bhatia money in exchange for that ownership right.

       23.     Although Mr. Bhatia initially agreed to such a buy out of his 10% ownership in

MedValue, Raju Vaswani never paid any monies towards that buy out or otherwise provided any

other form of consideration for it.

       24.     Accordingly, Mr. Bhatia and Raju Vaswani remain equal, 50/50 co-owners of

MedValue.

                                      MedValue’s Trademarks

       25.     For more than fourteen years, MedValue has been providing data entry and data

capture services to clients based throughout the United States.

       26.     Since its founding in 2003, MedValue has offered its services under the mark

“Medvalue.”

       27.     MedValue has owned and operated the website www.medvaluebpo.com since in

or about 2004 and markets and promotes its services through that website.

       28.     In or about 2006, Mr. Bhatia and Raju Vaswani realized that their data entry

outsourcing model, as offered to U.S. based healthcare clients through MedValue, could extend

well beyond the healthcare industry.




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       29.     Mr. Bhatia and Raju Vaswani were concerned, however, that they would not

attract potential customers because of the connotation of having “Med” as part of their

corporation’s name – implying it was purely for businesses in the healthcare space.

       30.     Mr. Bhatia and Raju Vaswani therefore registered a second domain name: data-

entry-services.com.     MedValue has owned and operated the website www.data-entry-

services.com since about in or about 2006.

       31.     When it began operating the second website, www.data-entry-services.com,

MedValue also began offering services under the mark “MV Outsourcing Solutions,” as a

“service” of MedValue.

       32.     Later, in or about 2006, MedValue also began using the mark “MV Outsourcing”

in connection with its services as a shortened version of the “MV Outsourcing Solutions.”

       33.     Indeed many of MedValue’s customers would recognize MV Outsourcing as

synonymous with MedValue.

       34.     Since the inception of the second domain name (www.data-entry-services.com),

the primary driver of new customers to MedValue has been MV Outsourcing and MedValue’s

new website, www.data-entry-services.com.

       35.     Today, MedValue uses and owns rights in the trademarks “MV Outsourcing” and

“MV Outsourcing Solution” (the “MV Marks”) in connection with its outsourcing services,

including data entry, data capture, claims processing services, among others.

       36.     MedValue uses the MV Marks in interstate commerce in connection with the sale,

offer for sale, and marketing of its data entry and claims processing services.

       37.     MedValue uses the MV Marks on both of its websites and in other marketing

materials for its services. Copies of pages from the websites showing MedValue’s use of the




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MV Marks are attached hereto as Exhibit A. A copy of a marketing brochure that can be

downloaded from MedValue’s domain (medvaluebpo.com) showing MedValue’s use of the MV

Marks is attached hereto as Exhibit B.

                                           Task Genie

       38.     In or about May 2017, Raju Vaswani approached Mr. Bhatia seeking to have

Vaswani’s son, Defendant Karan Vaswani, become an employee and/or owner in MedValue.

       39.     Mr. Bhatia refused that proposal.

       40.     On or about June 23, 2017, Raju Vaswani met with Mr. Bhatia at MedValue’s

offices in Oak Brook, Illinois.

       41.     During that meeting, Raju Vaswani again demanded that Karan Vaswani be made

an employee or partner of MedValue, demanding 25% of all incoming revenue to be provided to

Karan Vaswani. Mr. Bhatia again refused.

       42.     During that same meeting, Raju Vaswani threatened Mr. Bhatia that, if he

continued to refuse, Raju Vaswani and Karan Vaswani would form a competing business with

the express purpose of drawing customers away from MedValue and its MV Outsourcing

service.

       43.     Thereafter, and unbeknownst to Mr. Bhatia, Raju Vaswani and Karan Vaswani

followed through on that threat.

       44.     Upon information and belief, Raju Vaswani and Karan Vaswani registered the

corporate entity MV Outsourcing, Inc. with the Illinois Secretary of State.

       45.     MV Outsourcing, Inc. does business under the name “Task Genie.”

       46.     Karan Vaswani and, upon information and belief, Raju Vaswani, then created a

new domain task-genie.com - for the express purpose of drawing business away from MedValue.




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       47.        Karan Vaswani and, upon information and belief, Raju Vaswani, also created a

new domain - mvoutsourcing.com - for the express purpose of drawing business away from

MedValue.

       48.        Over the years, MedValue, through Mr. Bhatia and Raju Vaswani, has spent

approximately $1,000,000.00 on and Google and other search engine marketing campaigns,

developing and testing various advertising keywords, developing and testing various advertising

messages, search terms, language, and strategies to attract business to MedValue and its service,

MV Outsourcing, including extensive use of search engine optimization (“SEO”) techniques.

       49.        At the time of filing, the SEO and Google campaigns that were formerly directing

business     to    MedValue’s      MV     Outsourcing    domain     (data-entry-services.com     and

medvaluebpo.com), are now instead directing potential customers to task-genie.com.

       50.        That diversion of potential customers through search results is a direct result of

Raju Vaswani re-purposing and re-directing MedValue’s SEO and Google campaigns to divert

business to Task Genie – MedValue’s direct competitor.

       51.        In other words, Raju Vaswani has taken the very methods by which MedValue

and its MV Outsourcing service appeared at the top of search engine Google Adwords results

and instead converted those methods to benefit Task Genie instead.

       52.        Further, both Mr. Bhatia and Raju Vaswani have credit cards that are ultimately

paid by MedValue.

       53.        For many years and to date, Raju Vaswani uses one of his credit card to pay the

monthly marketing costs of MedValue which, in part, led directly to MedValue and its service

appearing at the top of search engine results. At all relevant times, the charges to this credit card

are paid by MedValue.




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       54.     In the past year, the marketing charges to Raju Vaswani’s credit card have largely

remained at a consistent (and high) level. Mr. Bhatia has recently learned, however, that those

funds are not being paid towards MedValue’s marketing efforts.

       55.     Instead, charges paid by MedValue are being used to market businesses owned

and operated by Raju Vaswani and Karan Vaswani, including MV Outsourcing, Inc. and Task

Genie – i.e., the direct competitors of MedValue.

       56.     Further, Raju Vaswani has attempted to, and has succeeded in various instances,

of redirecting customer inquiries away from Mr. Bhatia to himself, for the sole purposes of

redirecting those customers to Raju Vaswani's and Karan Vaswani's business(es), to MedValue’s

direct detriment, by frequently stopping and/or interfering with MedValue’s advertising

campaigns, and running campaigns for competing business MV Outsourcing Inc (Task-Genie)

instead.

   MV Outsourcing, Inc. and Karan Vaswani’s Infringement of Plaintiff’s Trademarks

       57.     Prior to forming MV Outsourcing, Inc., Karan Vaswani prepared proposed

“improved” marketing materials with a “newly created logo” for MedValue. The marketing

materials were provided to Mr. Bhatia by Raju Vaswani via email on or about May 26, 2017,

with Raju Vaswani identifying Karan Vaswani as the author. A copy of the marketing materials

is attached hereto as Exhibit C.

       58.     A notice at the bottom of the marketing materials indicates:

       (c) 2017 MedValue Offshore Solutions, Inc. All Rights Reserved. This document
       contains unpublished, confidential and proprietary information of MedValue Offshore
       Solutions, Inc. Herein, MedValue Offshore Solutions, Inc., or its Employees, Directors,
       Partners, Consultants, Sub-Contractors are collectively known as (“MedValue”). Any
       unauthorized use, reproduction or transfer of this document without the express written
       consent of MedValue Offshore Solutions, Inc. is strictly prohibited.




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       59.     Upon information and belief, Raju Vaswani and Karan Vaswani control the

domain mvoutsourcing.com.

       60.     The home page of the mvoutsourcing.com website displays the name “MV

Outsourcing” in connection with the promotion, marketing and sale of services that directly

compete with MedValue’s services. The website also displays a logo that is identical to the one

Karan Vaswani used in the marketing materials that Raju Vaswani proposed for MedValue to

use. (See Exhibit D, attached hereto.).

       61.     However, the copyright notice at the bottom of the webpage indicates that

webpage, which uses MedValue’s “MV Outsourcing” trademark and the logo proposed for

MedValue, is the copyrighted work of “MV Outsourcing” which, upon information and belief, is

MV Outsourcing, Inc. d/b/a Task Genie.

       62.     The phone number that is displayed on the webpage is not a MedValue phone

number. Upon information and belief, that phone number is owned and controlled by Raju

Vaswani and Karan Vaswani and used for the express purpose of directing business away from

Plaintiffs and to Task Genie.

       63.     MedValue did not give permission to MV Outsourcing, Inc., Raju Vaswani, or

Karan Vaswani to use the “MV Outsourcing” mark in connection with the marketing or sale of

MV Outsourcing, Inc.’s directly competing services.

       64.     The appearance and overall impression of the “MV Outsourcing” mark used by

Defendants is identical to the MedValue’s “MV Marks.”

       65.     MV Outsourcing, Inc., Raju Vaswani, and Karan Vaswani use the “MV

Outsourcing” mark in interstate commerce in connection with the sale, offer for sale and

marketing of its competing services.




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       66.     MV Outsourcing, Inc., Raju Vaswani, and Karan Vaswani’s wrongful use of the

“MV Outsourcing” mark is likely to cause confusion, deception or mistake in the minds of

consumers in the marketplace.

       67.     MV Outsourcing, Inc., Raju Vaswani, and Karan Vaswani’s wrongful use of the

“MV Outsourcing” mark constitutes a willful violation of MedValue’s trademark rights in the

“MV Outsourcing” mark.

       68.     Upon information and belief, Raju Vaswani and Karan Vaswani authorized,

directed, and participated in the infringement of the “MV Outsourcing” mark, and they direct and

control the mvoutsourcing.com domain. Therefore, they are also liable for the acts of

infringement and unfair competition set forth above.

       69.     In particular, Raju Vaswani and Karan Vaswani are believed to be the owners and

directors, and/or officers of MV Outsourcing Inc.

       70.     MV Outsourcing, Inc. is the alter ego of Defendants Raju Vaswani and Karan

Vaswani, and is under the direct control of them.

       71.     MV Outsourcing, Inc., Raju Vaswani, and Karan Vaswani have attempted to

capitalize on MedValue’s long-standing reputation by using MedValue’s trademark on its

website without permission.

                           MedValue is Entitled to Injunctive Relief

       72.     MedValue is likely to succeed on its claims of unfair competition on the merits.

       73.     MedValue is likely to suffer irreparable injury if preliminary relief is denied.

       74.     The balance of equities tips in MedValue’s favor.

       75.     An injunction would serve the public interest.




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                                LEGAL CAUSES OF ACTION

                                         COUNT I
           (Unfair Competition Claim under 15 U.S.C. § 1125(a) as to all Defendants)

          76.   Plaintiff incorporates by reference the allegations of paragraphs 1 through 75,

above, as though fully set forth herein as Paragraph 76 of Count I.

          77.   Plaintiff brings this Count derivatively, on behalf of MedValue, in which he is a

50% owner.

          78.   Because Plaintiff and Raju Vaswani are 50/50 owners in MedValue, a majority of

the MedValue’s directors, by definition, could not have exercised disinterested business

judgment in responding to a demand and thus any such demand to Defendant would have been

futile.

          79.   MV Outsourcing, Inc., Raju Vaswani, and Karan Vaswani’s use of the “MV

Outsourcing” mark is likely to cause confusion, mistake and deception among consumers of

MedValue and MV Outsourcing, Inc.’s services.

          80.   MV Outsourcing, Inc., Raju Vaswani, and Karan Vaswani’s use of the “MV

Outsourcing” mark to promote, market or sell its services in direct competition with MedValue’s

services constitutes unfair competition pursuant to 15 U.S.C. § 1125(a).

          81.   MV Outsourcing, Inc., Raju Vaswani, and Karan Vaswani’s unfair competition

has caused, and will continue to cause, damage to MedValue, and is causing irreparable harm to

MedValue for which there is no adequate remedy at law.

          82.   MV Outsourcing, Inc., Raju Vaswani, and Karan Vaswani have caused, and will

continue to cause, immediate and irreparable injury to MedValue, including injury to

MedValue’s business, reputation and goodwill, for which there is no adequate remedy at law.

MedValue is therefore entitled to an injunctive relief under 15 U.S.C. § 1116 restraining MV



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Outsourcing, Inc., its agents, employees, representatives, and Raju Vaswani and Karan Vaswani,

and all persons acting in concert with MV Outsourcing, Inc. and Raju Vaswani and Karan

Vaswani, from using the “MV Outsourcing” mark, and any other mark that is confusingly similar

to MedValue’s “MV Outsourcing” mark, in connection with marketing services compete with

MedValue’s data entry services.

       83.     Pursuant to 15 U.S.C. § 1117, MedValue is further entitled to recover from MV

Outsourcing, Inc., Raju Vaswani, and Karan Vaswani the damages sustained by MedValue as a

result of MV Outsourcing, Inc.’s acts in violation of 15 U.S.C. § 1125(a). MedValue is at

present unable to determine the full extent of the monetary damages it has sustained by reasons

of MV Outsourcing, Inc.’s acts.

       84.     Pursuant to 15 U.S.C. § 1117, MedValue is further entitled to recover from MV

Outsourcing, Inc., Raju Vaswani, and Karan Vaswani the ill-gotten gains, profits and advantages

that MV Outsourcing, Inc. has obtained as a direct result of MedValue’s acts in violation of 15

U.S.C. § 1125(a). MedValue is at present unable to ascertain the full extent of the gains, profits

and advantages MedValue has obtained by reason of MedValue’s acts.

       85.     Pursuant to 15 U.S.C. § 1117, MedValue is further entitled to recover the costs of

this action. Moreover, MedValue is informed and believes, and on that basis alleges, that MV

Outsourcing, Inc.’s, Raju Vaswani’s, and Karan Vaswani’s conduct was undertaken willfully and

with the intention of causing confusion, mistake or deception, making this an exceptional case

entitling MedValue to recover additional damages and reasonable attorneys’ fees.

       WHEREFORE, Plaintiff, Sunil Bhatia, derivatively on behalf of MedValue Offshore

Solutions, Inc., by and through his undersigned counsel, prays for the entry of judgment and

relief against MV Outsourcing, Inc., Raju Vaswani, and Karan Vaswani on Count I of his




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Complaint; for an award, jointly and severally against MV Outsourcing, Inc., Raju Vaswani, and

Karan Vaswani, in favor of Plaintiff, derivatively on behalf of MedValue Offshore Solutions,

Inc.; for all of MV Outsourcing, Inc.’s, Raju Vaswani’s, and Karan Vaswani’s profits and

damages sustained by MedValue, pursuant to 15 U.S.C. § 1117; for an award of applicable

prejudgment and post judgment interest; for an award to Plaintiff, derivatively on behalf of

MedValue Offshore Solutions, Inc., for its reasonable attorneys’ fees and costs of suit; and for an

award to MedValue of all such other and further such relief as the Court may deem just and

proper.

                                           COUNT II
                (Unfair Competition Claim under Common Law as to all Defendants)

          86.   Plaintiff incorporates by reference the allegations of paragraphs 1 through 75,

above, as though fully set forth herein as Paragraph 86 of Count II.

          87.   Plaintiff brings this Count derivatively, on behalf of MedValue, in which he is a

50% owner.

          88.   Because Plaintiff and Raju Vaswani are 50/50 owners in MedValue, a majority of

the MedValue’s directors, by definition, could not have exercised disinterested business

judgment in responding to a demand and thus any such demand to Defendant would have been

futile.

          89.   MV Outsourcing, Inc., Raju Vaswani, and Karan Vaswani’s use of the “MV

Outsourcing” mark is likely to cause confusion, mistake and deception among consumers of

MedValue’s and MV Outsourcing, Inc.’s (d/b/a/ Task Genie) services.

          90.   MV Outsourcing, Inc., Raju Vaswani, and Karan Vaswani’s use of the “MV

Outsourcing” mark to promote, market or sell its services in direct competition with MedValue’s

services constitutes unfair competition under State common law.



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       91.     MV Outsourcing, Inc., Raju Vaswani, and Karan Vaswani’s unfair competition

has caused, and will continue to cause, damage to MedValue, and is causing irreparable harm to

MedValue for which there is no adequate remedy at law.

       92.     MV Outsourcing, Inc., Raju Vaswani, and Karan Vaswani have caused, and will

continue to cause, immediate and irreparable injury to MedValue, including injury to

MedValue’s business, reputation and goodwill, for which there is no adequate remedy at law.

MedValue is therefore entitled to an injunction restraining MV Outsourcing, Inc., its agents,

employees, representatives, Raju Vaswani, Karan Vaswani, and all persons acting in concert

with MV Outsourcing, Inc., from using the “MV Outsourcing” mark, and any other mark that is

confusingly similar to MedValue’s “MV Outsourcing” mark, in connection with marketing

services compete with MedValue’s data entry services.

       93.     MedValue is further entitled to recover damages from MV Outsourcing, Inc.,

Raju Vaswani, and Karan Vaswani in an amount to be determined at trial.

       WHEREFORE, Plaintiff, Sunil Bhatia, derivatively on behalf of MedValue Offshore

Solutions, Inc., by and through his undersigned counsel, prays for the entry of judgment and

relief against MV Outsourcing, Inc., Raju Vaswani, and Karan Vaswani on Count II of his

Complaint; for an award, jointly and severally, against MV Outsourcing, Inc., Raju Vaswani, and

Karan Vaswani, in favor of Plaintiff, derivatively on behalf of MedValue Offshore Solutions,

Inc.; for an award of all of MV Outsourcing, Inc.’s, Raju Vaswani’s, and Karan Vaswani’s

profits and damages sustained by MedValue; for an award of applicable prejudgment and post

judgment interest; for an to Plaintiff, derivatively on behalf of MedValue Offshore Solutions,

Inc., for reasonable attorneys’ fees and costs of suit; and for an award to MedValue for all other

and further such relief as the Court may deem just and proper.




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                                       COUNT III
                  (Breach of Raju Vaswani’s Fiduciary Duty to Sunil Bhatia)

       94.      Plaintiff incorporates by reference the allegations of paragraphs 1 through 75,

above, as though fully set forth herein as Paragraph 94 of Count III.

       95.      At all relevant times, Plaintiff and Defendant Raju Vaswani created and acted in a

fiduciary relationship of great trust as joint venturers and/or partners in a closely held corporation

to operate MedValue for profit.

       96.      Defendant Raju Vaswani violated his fiduciary relationship with Plaintiff by,

among other things:

             a. Creating MV Outsourcing, Inc. for the express purposes of creating customer
                confusion and to draw business away from MedValue and its MV Outsourcing
                service;

             b. Disclosing and misusing MedValue’s SEO codes and Google campaigns for the
                benefit of MV Outsourcing Inc and/or Task Genie and not MedValue;

             c. Disclosing and misusing MedValue’s Google Adwords, Google Advertising
                messages, Google Advertising pricing, and Google campaigns for the benefit of
                MV Outsourcing, Inc. and other unknown entities, and not MedValue;

             d. Misusing his corporate credit card for expenses unrelated to the business of
                MedValue and for the benefit of a competing entity or entities;

             e. Redirecting customer and potential customer inquiries intended for Plaintiff to
                instead go to Raju or Karan Vaswani for the benefit of a competing business.


       97.      As a direct and proximate result of Defendant Raju Vaswani’s breaches of the

fiduciary duties he owed to Plaintiff as a partner in their closely held corporation, Plaintiff has

suffered damages in an amount to be proven at trial, but exceeding $100,000.

       98.      Defendant Raju Vaswani’s breaches were willful and intentional.

       WHEREFORE, Plaintiff, Sunil Bhatia, by and through his undersigned counsel, prays

for the entry of judgment and relief against Raju Vaswani on Count III of his Complaint; for the



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entry of judgment in favor of Plaintiff and against Defendant Raju Vaswani; for an award of

compensatory damages in an amount to be proven at trial but in excess of $100,000.00; for

punitive or exemplary damages according to the proofs at trial; for pre-judgment interest as

permitted by applicable law; and for such other and further relief as this Court may deem

appropriate.

                                           COUNT IV
                      (Breach of Raju Vaswani’s Fiduciary Duty to MedValue)

          99.      Plaintiff incorporates by reference the allegations of paragraphs 1 through 75,

above, as though fully set forth herein as Paragraph 99 of Count IV.

          100.     Plaintiff brings this Count derivatively, on behalf of MedValue, in which he is a

50% owner.

          101.     Because Plaintiff and Raju Vaswani are 50/50 owners in MedValue, a majority of

the MedValue’s directors, by definition, could not have exercised disinterested business

judgment in responding to a demand and thus any such demand to Defendant would have been

futile.

          102.     At all relevant times, Defendant Raju Vaswani created and acted in a fiduciary

relationship of great trust as a 50% owner and CEO of MedValue, a closely held corporation.

          103.     Defendant Raju Vaswani violated his fiduciary relationship to MedValue by,

among other things:

                a. Creating MV Outsourcing, Inc. for the express purposes of creating customer
                   confusion and to draw business away from MedValue and its MV Outsourcing
                   service;

                b. Disclosing and misusing MedValue’s Google Adwords, Google Advertising
                   messages, Google Advertising pricing, and Google campaigns for the benefit of
                   MV Outsourcing Inc., and other unknown entities, and not MedValue;




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           c. Disclosing and misusing MedValue’s SEO codes and Google campaigns for the
              benefit of MV Outsourcing Inc and/or Task Genie and other unknown entities,
              and not MedValue;

           d. Misusing his corporate credit card for expenses unrelated to the business of
              MedValue and for the benefit of a competing entity or entities;

           e. Redirecting customer and potential customer inquiries intended for MedValue’s
              business to instead go to Raju or Karan Vaswani for the benefit of a competing
              business.


       104.    As a direct and proximate result of Defendant Raju Vaswani’s breaches of the

fiduciary duties he owed to MedValue, MedValue has suffered damages in an amount to be

proven at trial, but exceeding $100,000.

       105.    Defendant Raju Vaswani’s breaches were willful and intentional.

       WHEREFORE, Plaintiff, Sunil Bhatia, derivatively on behalf of MedValue Offshore

Solutions, Inc., by and through his undersigned counsel, prays for entry of judgment and relief

against Raju Vaswani on Count IV of his Complaint; for an award of compensatory damages in

an amount to be proven at trial but in excess of $100,000.00; for punitive or exemplary damages

according to the proofs at trial; for pre-judgment interest as permitted by applicable law; and for

such other and further relief as this Court may deem appropriate.

                                        COUNT V
                    (Breach of Raju Vaswani’s Duty of Loyalty to Bhatia)

       106.    Plaintiff incorporates by reference the allegations of paragraphs 1 through 75,

above, as though fully set forth herein as Paragraph 106 of Count V.

       107.    As MedValue’s CEO and as a 50% owner of MedValue, Defendant Raju Vaswani

at all times owed a duty of loyalty to Plaintiff, as a 50% owner of MedValue, to not exploit his

position for his personal benefit, to not engage in self-dealing, to not treat Plaintiff unfairly or

without the utmost good-faith, to not directly compete with MedValue whether individually or



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with others, to not steer corporate opportunities to himself or others, and not to undermine

MedValue’s ability to continue its business successfully.

       108.     Defendant Raju Vaswani breached his duties of loyalty to Plaintiff by, among

other things:

           a. Creating MV Outsourcing, Inc. for the express purposes of creating customer
              confusion and to draw business away from MedValue and its MV Outsourcing
              service;

           b. Disclosing and misusing MedValue’s SEO codes and Google campaigns for the
              benefit of MV Outsourcing Inc and/or Task Genie and other unknown entities,
              and not MedValue;

           c. Misusing his corporate credit card for expenses unrelated to the business of
              MedValue and for the benefit of a competing entity or entities;

           d. Engaging in self-dealing by, among other things, redirecting customer and
              potential customer inquiries intended for MedValue’s business to instead go to
              Raju or Karan Vaswani for the benefit of a competing business.

       109.     As a direct and proximate result of Defendant Raju Vaswani’s breaches of his

duties of loyalty he owed to Plaintiff, Plaintiff has suffered damages in an amount to be proven at

trial, but exceeding $100,000.

       110.     Defendant Raju Vaswani’s breaches were willful and intentional.

       WHEREFORE, Plaintiff, Sunil Bhatia, by and through his undersigned counsel, prays

for the entry of judgment and relief against Defendant Raju Vaswani on Count V of his

Complaint; for the entry of judgment in favor of Plaintiff and against Defendant Raju Vaswani;

for an award of compensatory damages in an amount to be proven at trial but in excess of

$100,000.00; for punitive or exemplary damages according to the proofs at trial; for pre-

judgment interest as permitted by applicable law; and such other and further relief as this Court

may deem appropriate.




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                                         COUNT VI
                    (Breach of Raju Vaswani’s Duty of Loyalty to MedValue)

          111.   Plaintiff incorporates by reference the allegations of paragraphs 1 through 75,

above, as though fully set forth herein as Paragraph 111 of Count VI.

          112.   Plaintiff brings this Count derivatively, on behalf of MedValue, in which he is a

50% owner.

          113.   Because Plaintiff and Raju Vaswani are 50/50 owners in MedValue, a majority of

the MedValue’s directors, by definition, could not have exercised disinterested business

judgment in responding to a demand and thus any such demand to Defendants would have been

futile.

          114.   As MedValue’s CEO and as a 50% owner of MedValue, Defendant Raju Vaswani

at all relevant times owed a duty of loyalty to MedValue, as a 50% owner of MedValue, to not

exploit his position for his personal benefit, to not engage in self-dealing, to not directly compete

with MedValue whether individually or with others, to not steer corporate opportunities to

himself or others, and not to undermine MedValue’s ability to continue its business successfully.

          115.   Defendant Raju Vaswani breached his duty of loyalty to MedValue by, among

other things:

             a. Creating MV Outsourcing, Inc. for the express purposes of creating customer
                confusion and to draw business away from MedValue and its MV Outsourcing
                service;

             e. Disclosing and misusing MedValue’s Google Adwords, Google Advertising
                messages, Google Advertising pricing, and Google campaigns for the benefit of
                MV Outsourcing Inc., and other unknown entities, and not MedValue;

             b. Disclosing and misusing MedValue’s SEO codes and Google campaigns for the
                benefit of MV Outsourcing Inc and/or Task Genie and other unknown entities,
                and not MedValue;




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           c. Misusing his corporate credit card for expenses unrelated to the business of
              MedValue and for the benefit of a competing entity or entities;

           d. Engaging in self-dealing by, among other things, redirecting customer and
              potential customer inquiries intended for MedValue’s business to instead go to
              Raju or Karan Vaswani for the benefit of a competing business.

       116.    As a direct and proximate result of Defendant Raju Vaswani’s breaches of the

duties of loyalty he owed to MedValue, MedValue has suffered damages in an amount to be

proven at trial, but exceeding $100,000.

       117.    Defendant Raju Vaswani’s breaches were willful and intentional.

       WHEREFORE, Plaintiff, Sunil Bhatia, derivatively on behalf of MedValue Offshore

Solutions, Inc., by and through his undersigned counsel, prays for the entry of judgment and

relief against Defendant Raju Vaswani on Count VI of his Complaint; for an award of

compensatory damages in an amount to be proven at trial but in excess of $100,000.00; for

punitive or exemplary damages according to the proofs at trial; for pre-judgment interest as

permitted by applicable law; and such other and further relief as this Court may deem

appropriate.

                                          COUNT VII
                                 (Conversion as to Raju Vaswani)

       118.    Plaintiff incorporates by reference the allegations of paragraphs 1 through 75,

above, as though fully set forth herein as Paragraph 118 of Count VII.

       119.    As further set forth above, Defendant Raju Vaswani knowingly and intentionally

wrongfully converted for his own benefit, and to the detriment of Plaintiff, monies and other

assets belonging to Plaintiff.

       120.    Plaintiff has a right to such monies and assets by way of his entitlement to

ownership in MedValue.




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       121.      Plaintiff’s rights to possess a share of the above-referenced items is absolute and

unconditional.

       122.      Defendant Raju Vaswani has wrongfully and illegally exercised exclusive control

and dominion over those monies and assets.

       123.      As a direct and proximate result of Defendant Raju Vaswani’s various wrongful

acts of conversion, Plaintiff has suffered and will continue to suffer significant monetary

damages, in an amount to be more fully proven through discovery and trial, and in excess of at

least $100,000.00.

       WHEREFORE, Plaintiff, Sunil Bhatia, by and through his undersigned counsel, prays

for the entry of judgment and relief against Raju Vaswani on Count VII of his Complaint; for the

entry of judgment in favor of Plaintiff and against Defendant Raju Vaswani; for an Order

requiring Defendant Raju Vaswani to immediately return all of the assets and monies that he has

misused, misdirected, or failed to turn over to Plaintiff; for an award of compensatory damages

in an amount to be proven at trial but in excess of $100,000.00; for punitive or exemplary

damages according to the proofs at trial; for pre-judgment interest as permitted by applicable

law; and for all such other and further relief as this Court may deem appropriate.

                                     COUNT VIII
        (Declaratory Judgment, pursuant to 735 ILCS 5/2-701, as to Raju Vaswani)

       124.      Plaintiff incorporates by reference the allegations of paragraphs 1 through 75,

above, as though fully set forth herein as Paragraph 124 of Count VIII.

       125.      As of MedValue’s formation, Mr. Bhatia and Raju Vaswani were 50/50 owners in

MedValue.

       126.      In or about early 2006, Raju Vaswani approached Mr. Bhatia regarding a potential

purchase of 10% of Bhatia’s ownership in MedValue.



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       127.    More specifically, Raju Vaswani wanted to “buy out” that 10% ownership interest

by paying Mr. Bhatia money in exchange for that ownership right.

       128.    Although Mr. Bhatia initially agreed to such a buy out of his 10% ownership in

MedValue, Raju Vaswani never paid any monies towards that buy out or otherwise provided any

other form of consideration for it.

       129.    Accordingly, Mr. Bhatia and Raju Vaswani remain equal, 50/50 co-owners of

MedValue.

       130.    Despite that fact, Raju Vaswani has taken the position, in documents and

otherwise, that the sale of Mr. Bhatia’s 10% share was consummated and Mr. Bhatia only owns

40% of MedValue.

       131.    Raju Vaswani has thus taken a 60% share of profits, despite the lack of

consideration for the additional 10% of Mr. Bhatia’s ownership.

       132.    As such, there is a real and actual controversy between the parties as to Raju

Vaswani’s ownership of Mr. Bhatia’s 10% ownership in MedValue.

       133.    Mr. Bhatia is an interested party in the controversy as he alleges the deal to sell

his 10% ownership is void for lack of consideration and thus he remains a 50/50 owner in

MedValue with Raju Vaswani.

       WHEREFORE, Plaintiff, Sunil Bhatia, by and through his undersigned counsel, prays

for the entry of judgment and relief against Raju Vaswani on Count VIII of his Complaint; for

the entry of judgment in favor of Plaintiff and against Defendant Raju Vaswani and declaring the

parties 50/50 owners in MedValue; for an Order requiring Defendant Raju Vaswani to

immediately return 10% of all salaries and profits he has paid from MedValue to himself under

his claim to 10% ownership of Plaintiff ownership in MedValue; for an award of compensatory




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damages in an amount to be proven at trial but in excess of $100,000.00; for punitive or

exemplary damages according to the proofs at trial; for pre-judgment interest as permitted by

applicable law; and for all such other and further relief as this Court may deem appropriate.


                                        JURY DEMAND

        Plaintiffs demand a trial by jury under Federal Rule of Civil Procedure 38(b) on all issues

so triable.




Dated: April 3, 2018                          RESPECTFULLY SUBMITTED,

                                              By: /s/ Michael I. Leonard
                                                 Michael I. Leonard
                                                 LEONARDMEYER LLP
                                                 120 North LaSalle, Suite 2000
                                                 Chicago, Illinois 60602
                                                 (312) 380-6559 (direct)
                                                 mleonard@leonardmeyerllp.com




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                        Exhibit A
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 phone: 1-877-528-1683
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           MV Outsourcing (a division of MedValue) is the leading high volume provider of outsourced Data Entry Services to clients nationwide. We specialize in all types of Data Entry, Data Mining,
           Data Processing and Data Conversion projects in various industries such as Healthcare, Web/eCommerce, Transportation, Infrastructure, Manufacturing, Research, Finance & Insurance,
           Universities & Education, Direct Marketing, Real Estate/Mortgage, Retail, Wholesale, Distribution, Legal, and Government & Non-Proﬁt.

           We process millions of transactions monthly from both paper forms, scanned images and online websites accurately and provide fast turnarounds.

           Our clients save between 40-60% in comparison to their current in-house or vendor costs. Through a unique blend of technology, experienced data processing professionals, and modern
           processes, we have been able to consistently and reliably provide over 99% accuracy levels and fast 1-2 day turnarounds at very competitive prices.

           We are a leading U.S. based Data Entry Services company headquartered in the greater Chicago area, with secure and HIPAA-compliant operations centers in 3 locations in India.

           Contact Us
           Our Services:
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           E-Commerce Data Capture and Processing
           Accurate Data Capture directly into your E-Commerce System – Product Data, Orders and Invoices.

           read more




http://data-entry-services.com/                                                                                                                                                                          1/2
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 "I have to admit that I was skeptical about this offshore thing, especially when you mentioned that you can capture data from paper forms faster, cheaper and better than we could do in house. But
 now I want to thank you and your staff. You have succeeded in delivering more than you promised.”

 President of a Client Company
 in the Midwest

 Featured Projects
           Medical Claims (CMS-1500, UB-04, & ADA) to EDI
           License Plate/Toll Transaction Image Review
           Auto Crash Reports & Loan Forms Data Entry
           Document Conversion (PDF-XML, PDF-Excel)

           Coupons & Rebate Data Entry
           Web Research & Data Mining
           Catalog Data Entry
           Surveys & Lead Data Entry

 MV Outsourcing is a service of

 An Inc. 500 Company. MedValue, Regency Towers, 1415 W 22nd Street, Tower Floor, Oak Brook, IL 60523.
 Phone: (630) 299-7370, Fax: (630) 839-2603, Email: data-entry@medvaluebpo.com




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  About Us
  MV Outsourcing, a service of MedValue, is a leading provider of Data Entry and Data Mining Services worldwide. We work for
  customers in various industries by reducing their costs and improving efﬁciencies within their organizations. We combine the
  expertise of our U.S. based Management Team and the talents of our staff in the U.S. and Offshore to collaborate with our
  customers.


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  With deep business process expertise and proven track record, we help our clients grow revenue and proﬁts without hassles of
  hiring and/or managing staff. Our seasoned Management team brings signiﬁcant and relevant experience in solving key business
  challenges for our clients:

  Raj Vaswani, President & CEO
  Raj has over 25 years of progressive experience at large corporations (IBM, and KPMG Consulting) and small companies in the
  U.S. and India. Raj’s expertise lies in solving critical business problems of Healthcare and Insurance entities. Raj leverages his
  business process, strategy, and technology experience to cater to clients of MedValue. Raj oversees the overall direction of the
  company. Raj is an Elec. Engineer from B.I.T.S., Pilani, India and earned his M.B.A. from the Amos Tuck School of Business at
  Dartmouth College.

  Sunil Bhatia, COO & CTO
  Sunil has over 20 years of experience in Program Management, Operations, and Technology at Microsoft and Unisys. Sunil has
  extensive background helping clients in the Healthcare and Insurance sectors with their business and technology problems. At
  Microsoft, Sunil successfully managed complex multi-million dollar projects. He is an Electronics Engineer from Bombay
  University, India.

  We have been providing Business Process Outsourcing Services from 2003.

  Contact us
  Phone Number: 1-877-528-1683




  Call us today to see how our customers have beneﬁted by partnering with us for their unique project requirements and saved
  between 40%-60% and improved quality.


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                                                                                        MV Outsourcing


  1-877-528-1683
  We are Easy to Work with

  Our scalable infrastructure and qualiﬁed resources can easily transition processing of your paper forms to MedValue within 10
  days. Our Account Manager and project teams will shield you from the mundane and day - to day headaches.

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  Phone: (630) 299-7370, Fax: (630) 839-2603, Email: data-entry@medvaluebpo.com




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         MedValue
         Data Entry Services                                                                     TM




         MV Outsourcing Solutions is a service of MedValue. MedValue is the
         leading outsourcing company in the area of Data entry, Data Processing                                                                               Low Cost & High Value
         and Data conversion in various industries such as Healthcare, Financial,                                                                             Our services are very affordable and are a variable
         Web/eCommerce, Retail, Transportation, and more.
                                                                                                                                                              cost to you. You do not need any upfront expenses
                                                                                                                                                              on Hardware, Software or IT staff at your end.
         We convert and capture information from tens of thousands of paper
         forms, surveys, directories, web sites, business reply cards, records,                                                                               MedValue clients are saving between 40%-60% off
         invoices, rebates, insurance forms, index cards everyday to electronic
                                                                                                                                                              their fully loaded in-house processing costs and
         formats such as Text, CSV, Excel, databases like Microsoft Access, and                                                                               enjoying over 99.5% accuracy by using MedValue’s
         any custom formats your applications may need, with over 99.5%
                                                                                                                                                              Data Entry Services.
         accuracy and 1-2 day turn around time. Our customers enjoy the
         consistency and reliability that accrues to them by working with
         MedValue.                                                                                                                                            We are Easy to Work with
                                                                                                                                                              Our scalable infrastructure and qualified resources
         Simple and affordable, our service automates your paper forms                                                                                        can easily transition processing of your paper
         capture and processing, cuts costs, eliminates the manual data entry,                                                                                forms to MedValue within 10 days. Our Account
         and improves accuracy of paper forms and improving turnaround time.                                                                                  Manager and project teams will shield you from
         It additionally enhances productivity of your staff by optionally                                                                                    the mundane and day-to-day headaches.
         archiving paper forms and attachments to our web-based Document
         Management System (DMS), for easy Search and Retrieval of paper                                                                                      You will derive following Benefits
         forms and convenient access anytime.
                                                                                                                                                               Eliminate handling of Paper Forms
         We also provide low-cost Scanning Services to scan any paper format                                                                                   Easily Process Data contained in the forms in
         to an electronic image format of your choice, in addition to data                                                                                      your applications
         capture and data entry services.                                                                                                                      Cut Paper Forms Processing Costs by 40-60%
                                                                                                                                                               Archive, Search, and easily Retrieve Paper
                                                                                                                                                                Forms and Attachments from our web based
         Are you facing these Challenges?                                                                                                                       Document Management System
                          Shortage of motivated data entry staff, who can be                                                                                  Reduce long-term paper storage costs
                           consistently relied upon                                                                                                            Improve turnaround times & eliminate backlog
                          Overburdened by paper forms and documents because of lack
                           of automation, or in-house scanning capabilities
                          Antiquated or inadequate technology platforms                                                                                              Call us today to see how
                          Rising employee wages and benefit costs                                                                                                    Healthcare, Financial, eCommerce,
                          High volume of paper forms backlogs                                                                                                        and other customers have benefited
                          High cost and low reliability from existing vendor                                                                                         by partnering with MedValue for
                                                                                                                                                                      their unique paper forms processing
         You can count on us for consistency & reliability                                                                                                            needs.
         MedValue’s Data Entry Services have been designed to specifically                                                                                                          1-877-528-1683
         address these challenges. The custom solutions enable your business
         to eliminate paper and populate their applications with information
         they need, without requiring any manual and mundane data entry.

         Our People & Processes are our Differentiation                                                                                                                                                MV Outsourcing Solutions
         Our process is easy to implement. On a daily basis, you simply send us                                                                                                                    A Service of MedValue
         the paper documents, or scan them in-house. We convert the data in                                                                                              Regency Towers, 1415 W. 22nd Street, Tower Floor
                                                                                                                                                                                                      Oak Brook, IL 60523
         the format you need and send it back to you for loading into your                                                                                                      Phone: (630) 299-7370, Fax: (630)839-2603
         applications within 1-2 business days. Our India based operations team                                                                                                           Email: sales@MedValueBPO.com
         ensures top notch quality. We also provide you a Management                                                                                                                              www.MedValueBPO.com
         Information Summary on our web based Workflow Management
         System (WMS) portal, and via daily email status reports so that every
         paper form or document sent to us and processed by us is accounted
         for.

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                        Exhibit C
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                                                                                                                                                       Loan Application Processing


              MV Outsourcing is a leading outsourcing company in the areas of                                                                  LOW COST & HIGH VALUE
    online Data Entry, Data Mining, Data Processing, and Data Conversion                                                                       Our services are very affordable and are a variable cost to
    to various industries such as Financial Services & Insurance, Healthcare,                                                                  you. You do not need any upfront expenses on Hardware,
    Web/eCommerce & more. We convert and capture information from                                                                              Software or IT staff at your end.
    millions of confidential transactions on a monthly basis.
                                                                                                                                               Our clients typically save between 40%-60% of their
              We provide services to our MCA, Lenders, and Fin-Tech clients to                                                                 fully loaded in-house processing costs and enjoy faster
    enable them to easily capture data from incoming Loan Applications/                                                                        deal turnaround by a few hours all with 99% accuracy of
    Financial Inquiries. For this service, our GateKeeper team monitors the                                                                    processing.
    incoming financial inquiry queue. This team ensures that the incoming
    deals match your basic underwriting criteria, such as FICO score, Industry                                                                 WE ARE EASY TO WORK WITH
    type, Business Location, etc. If there is any information needed, our team                                                                 Our scalable infrastructure and qualified resources can
    communicates with the Business Partner/ISO and request missing/                                                                            easily transition processing of your business processes to
    additional information via Email. If the deal does not match, it’s rejected                                                                us within a few days. We also provide you Management
    and we inform your Underwriting Team, and/or can directly inform the                                                                       Information Summary on our web based Workflow
    Business Partner/ISO.                                                                                                                      Management System (WMS) portal, & via daily email status
                                                                                                                                               reports so that every deal sent to us is accounted for, and
              Once the deal does meet our client’s basic Underwriting criteria,                                                                handled exactly per your business rules/guidelines.
    the deal is passed to our Bank Information Capture Team which will do
    a detailed review on the deal, and capture all summary and pertinent                                                                       YOU WILL DERIVE THE FOLLOWING BENEFITS
    information from bank statements into your system. Our social team also                                                                    •    Eliminate delays in handling incoming financial
    reviews all major social websites (such as Yelp, Google, Facebook etc.) to                                                                      inquiries/deals
    see customer reviews and will capture and make that information available                                                                  •    Better and Faster email communications with Business
    to your Underwriting team so that they make informed decisions.                                                                                 Partners/ISOs,
                                                                                                                                               •    Your Underwriting team will be relieved from mundane
              We regularly deliver over 99% accuracy and faster turnaround                                                                          data entry, so that they can focus on making better
    of under a few hours after the deal is received from the ISO/business                                                                           decisions quickly.
    partner and all pertinent information is sent to your Underwriting team.                                                                   •    Save Processing Costs by 40-60%
    Our clients enjoy the consistency, scalability and reliability that accrue                                                                 •    US Night time support ensures all incoming deals are
    to them by working with us.                                                                                                                     handled in a timely manner.



    Are you facing these Challenges?                                                                                                                                  1-877-528-1683
    • Is your Underwriting Team overwhelmed and unable to handle all                                                                          Call us today to see how other Lenders and MCA firms
         incoming financial inquiries/deals in a timely manner? Are ISOs                                                                      have benefited by partnering with MV Outsourcing for
         being informed in a timely manner?                                                                                                            their business loan processing needs.
    • Do you struggle with providing US Night time or after-hours
         coverage to ISOs & Partners?
    • Are you losing ISO deals/business to other lenders & MCAs                                                                                                                                            A Service of MedValue

         because of slower turnaround because your current staff gets
                                                                                                                                                ( 630 ) 299 - 7370                               ( 630 ) 839 - 2603
         caught up in mundane tasks?
                                                                                                                                                info@mvoutsourcing.com                           www.MVOutsourcing.com
    • Are you facing rising employee wages and benefit costs?
                                                                                                                                                Regency Towers, 1415 W. 22nd St., Tower Flr., Oak Brook, IL 60523




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                                                                                                                                                          (630) 468-0549
                                                                                                                                                   info@mvoutsourcing.com



                                                   INDUSTRIES SERVED                                                                    SERVICES



                                                                                                             We support your
                                                                                                                 success!

                                                                                                          Outsource your key
                                                                                                            but repetitive &
                                                                                                          mundane tasks to us
                                                                                                         and focus on your core
                                                                                                                business


                             Customer/Partner Support                        Content Moderation/Monitoring                          Data Mining/Research




                         Companies like yours work hard to win              We recognize the importance of content                In today's fast moving data-driven business
                         customers, but in today’s competitive, on-         moderation & monitoring in protecting a brand         environment, the world runs on data. Your team
                         demand world, you must work even harder to         and keeping companies ticking along. We have          at MVO researches, verifies and analyzes data
                         keep them. Consumer & Partner expectations         the processes and teams in place to do so             for you, our clients, to help ensure accuracy and
                         for quality customer experience continue to rise   effectively, and what's even better is we do it for   quality while at the same time maintaining cost
                         with little room for error.                        a lower cost and faster than in-house teams.          low and doing so with extreme speed.




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